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  AO 245B         (Rev. 09/11) Judgment in a Criminal Case
                                                                                                                                        (NOTE: Identify Changes with Asterisks (*))
  vi              Sheet 1


                                              UNITED STATES DISTRICT COURT
                                                           MIDDLE DISTRICT OF ALABAMA
            UNITED STATES OF AMERICA                                                 AMENDED JUDGMENT IN A CRIMINAL CASE
                        V.                                                           (WO)
                MELINDA M. LAMBERT                                                   Case Number: 2:1 1cr26-MEF-05
                                                                                     USM Number: 13601-002
Date of Original Judgment: 8/21/2012                                                 David Richard Clark
(Or Date of Last Amended Judgment)                                                   Defendant's Attorney

Reason for Amendment:
E Correction of Sentence on Remand (18 U.S.C. 3742(0(1) and (2))                        Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
    Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                   0 Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                           Compelling Reasons (18 U.S.C. § 3582(c)(1))
0   Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))                 Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
                                                                                        to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
    Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                     E Direct Motion to District Court Pursuant E 28 U.S.C. § 2255 or
                                                                                            18 U.S.C. § 3559(c)(7)
                                                                                       ' Modification of Restitution Order (18 U.S.C. § 3664)

TUE DEFENDANT:
 ' pleaded guilty to count(s) 24 of the Indictment on 8/31/2011
     pleaded nolo contendere to count(s)
     which was accepted by the court.
0 was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                                   Offense Ended                                   Count
 267206(2) & 182                      Aiding in the Filing of a False Tax Return under the IRS                                1/8/2007                                   24
                                      Laws and Aiding and Abetting




    See additional Count(s) on page 2
      The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
EJ The defendant has been found not guilty on count(s)

   Count(s) 1-23 and 25-27 of the Ind                           E is      'are dismissed on the motion of the United States.

         It is ordered that the defendant mist notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                               1/6/2012
                                                                               Date of Imposition of Judgment




                                                                                                                     . ..... ....... .. .... . . ....
                                                                               Signature of Je


                                                                               Mark E. Fuller, United States District Judge
                                                                              Name of Judge                                                             Title of Judge




                                                                              Date
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AO 245B         (Rev. 09/I1) Judgment in a Criminal Case
VI              Sheet 2— Imprisonment

                                                                                                                     Judgment Page: 2 of 6
     DEFENDANT: MELINDA M. LAMBERT
     CASE NUMBER: 2:1 1cr26-MEF-05


                                                                 IMPRISONMENT
              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:
     Six (6) months




             The court makes the following recommendations to the Bureau of Prisons:

             That defendant be placed in a facility where she can benefit from any educational programs available through BOP.



             The defendant is remanded to the custody of the United States Marshal.

             The defendant shall surrender to the United States Marshal for this district:

                  at ___________________ LI a.m. V p.m. on                                             6/5/12

             Li as notified by the United States Marshal.

         LI The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             Li before                  on

             LI as notified by the United States Marshal.
             LI as notified by the Probation or Pretrial Services Office.


                                                                       RETURN
     I have executed this judgment as follows:




             Defendant delivered on                                                           to

     a                                                     with a certified copy of this judgment.



                                                                                                        UNITED STATES MARSHAL


                                                                               By
                                                                                                     DEPUTY UNITED STATES MARSHAL
                      Case 2:11-cr-00026-ECM-SRW Document 305 Filed 09/10/12 Page 3 of 6

AO 245B           (Rev. 09/11) Judgment in a Criminal Case
V1                Sheet 3 - Supervised Release

 DEFENDANT: MELINDA M. LAMBERT                                                                                               Judgment Page: 3 of 6
 CASE NUMBER: 2:1 1cr26-MEF-05
                                                             SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 One Year


          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
               The defendant shall not commit another federal, state or local crime.
          The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, ([applicable.)

            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, [applicable.)
            The defendant shall cooperate in the collection of DNA as directed by the probation officer. Check, ([applicable.)

     El The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, etseq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, [applicable)

     Li The defendant shall participate in an approved program for domestic violence. (Check, ([applicable)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that haie been adopted by this court as well as with any additional conditions
 on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
       1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)     the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
       6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probation officer;
     10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;
     11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcencnt officer;
     12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
             permission of the court; and

     13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
             record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             defendant s compliance with such notification requirement.
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AO 245B        (Rev. 09/11) Judgment in a Criminal Case
vi             Sheet 3C - Supervised Release

                                                                                                          Judgment Page: 4 of 6
 DEFENDANT: MELINDA M. LAMBERT
 CASE NUMBER: 2:1 1cr26-MEF-05


                                             SPECIAL CONDITIONS OF SUPERVISION
     1. The defendant shall provide the probation officer any requested financial.

     2. The defendant shall not incur new credit charges or open additional lines of credit without approval of the Court unless
     in compliance with the payment schedule.

     3. The defendant shall participate in the home confinement program with electronic monitoring for a period of 6 months to
     begin at a time designated by the probation officer. During this time, the defendant will remain at her place of residence
     except for employment and other activities approved in advance by the probation officer. At the direction of the probation
     officer, the defendant shall wear an electronic monitoring device and follow electronic procedures specified by the
     probation officer. The defendant shall pay the cost of electronic monitoring as directed by the probation officer.

     4. The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
     court.
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AO 245B          (Rev. 09/11) Judgment in a Criminal Case
V1               Sheet 5 - Criminal Monetary Penalties

                                                                                                                          Judgment Page: 5 of 6
     DEFENDANT: MELINDA M. LAMBERT
     CASE NUMBER: 2:1 1cr26-MEF-05
                                                    CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                          Assessment                                           Fine                             Restitution
 TOTALS                $ 100.00                                            $                                  $ $4,315.00



     LI The determination of restitution is deferred until                       An Amended Judgment in a Criminal Case (AO 245C) will be entered
         after such determination.

     LI The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 u.S.C. § 3664(1), all nonfederal victims must be paid
         before the United States is paid.

 Name of Payee                                                           Total Loss*               Restitution Ordered Priority or Percentage

      IRS-RACS
      Attention: Mail Stop 6261, Restitution                                                                  $4,315.00

      333 West Pershing Avenue

      Kansas City, Missouri 64108




 TOTALS                                                                                   $0.00               $4,315.00



 LI Restitution amount ordered pursuant to plea agreement $

 LI The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 LI The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          Rf the interest requirement is waived for the            El fine V restitution.

          El the interest requirement for the            LI fine     LI restitution is modified as follows:



 * Findings for the total amunt of losses are required under Chailers 109A, 110, 11 0A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                 Case 2:11-cr-00026-ECM-SRW Document 305 Filed 09/10/12 Page 6 of 6

AO 245B       (Rev. 09/11) Judgment in a Criminal Case
V1            Sheet 6—Schedule of Payments
                                                                                                                           Judgment Page: 6 of 6
 DEFENDANT: MELINDA M. LAMBERT
 CASE NUMBER: 2:1 1cr26-MEF-05


                                                         SCHEDULE OF PAYMENTS
 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A          Lump sum payment of $ 4,41 5.Q0                     due immediately, balance due

            LI not later than                                       , or
            LI in accordance              LI C, LI D, LI E, or LI F below; or
 B LI Payment to begin immediately (may be combined with LI C,                           U D, or LI F below); or

 C          Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                        (e.g., months or years), to commence         _____          (e.g., 30 or 60 days) after the date of this judgment; or

 D    Li Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                       -- (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E          Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:
            Any balance of the restitution remaining at the start of supervision shall be paid at the rate not less than $100.00 per month.
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101.



 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of crininal monetary penalties is due during
 imprisonment. All crimnal monetarypenalties, except those payments made through the Federal Bureau of Prisons' inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.

       *Melinda M. Lambert, 2:11cr26-MEF-05, Total $4,315.00, JS $4,315,IRS-RACS;
       James E. Moss, 2:11cr26-MEF-01, Total $121,231.00, JS $121,231.00, IRS-RACS;
       Avada L. Jenkins, 2:11cr26-MEF-04, Total $121,231.00, JS $121,231.00, IRS-RAGS

 LI The defendant shall pay the cost of prosecution.

 LI The defendant shall pay the following court cost(s):

 U The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
